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                EXHIBIT 1
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                                                                              UNITED STATES DISTRICT COURT
                       ATTORNEYS AT LAW




                                          13

                                          14                            NORTHERN DISTRICT OF CALIFORNIA

                                          15   IN RE PERSONALWEB TECHNOLOGIES, LLC,                Case No. 5:18-md-02834-BLF
                                               ET AL., PATENT LITIGATION
                                          16

                                          17   PERSONALWEB TECHNOLOGIES, LLC and                   Case No. 5:18-cv-05619-BLF
                                               LEVEL 3 COMMUNICATIONS, LLC,
                                          18                                                       DEFENDANT TWITCH
                                                                Plaintiffs,                        INTERACTIVE, INC.’S
                                          19                                                       RESPONSES AND OBJECTIONS TO
                                                     v.                                            PERSONALWEB TECHNOLOGIES,
                                          20                                                       INC.’S FIRST SET OF REQUESTS
                                               TWITCH INTERACTIVE, INC.,                           FOR PRODUCTION
                                          21
                                                                Defendant.
                                          22

                                          23   PROPOUNDING PARTY:                     PERSONALWEB TECHNOLOGIES, INC.
                                          24   RESPONDING PARTY:                      TWITCH INTERACTIVE, INC.

                                          25   SET NUMBER:                            ONE (1-34)

                                          26

                                          27

                                          28

                                               TWITCH’S RESPONSES AND OBJECTIONS TO                               CASE NO. 5:18-md-02834-BLF
                                               FIRST SET OF REQUESTS FOR PRODUCTION                               CASE NO. 5:18-cv-05619-BLF
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                                           1           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Twitch Interactive,

                                           2   Inc. (hereafter, “Twitch”), by and through their counsel, hereby responds to Plaintiffs, of Personal

                                           3   Web Technologies, LLC (“PersonalWeb”), First Set of Requests for Production (Nos. 1-34) as

                                           4   follows:

                                           5                                       GENERAL OBJECTIONS

                                           6           The following general objections are stated with respect to each and every document request

                                           7   whether or not specifically identified in response thereto. To the extent any of these general

                                           8   objections are not raised in any particular response, Twitch does not waive those objections.

                                           9           1.      Twitch objects to each and every definition and request as overly broad, unduly

                                          10   burdensome, and not proportional to the needs of the case because they are not limited to a specific

                                          11   geographic area. Twitch will only provide discovery with respect to the United States.

                                          12           2. Twitch objects to the definitions of “You,” “Your,” or “Twitch” because it seeks to
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                                          13   broaden the scope of allowable discovery and seeks information that is not within the possession,

                                          14   custody, or control of Twitch, but is in the possession of third-parties and non-parties to this lawsuit.

                                          15   Twitch further objects to the definition of these terms to the extent it includes Twitch’s attorneys

                                          16   and patent agents and seeks privileged and attorney-work product information. Twitch will interpret

                                          17   these terms as referring to Twitch Interactive, Inc. only.

                                          18           3.      Twitch objects to the definition of “Fingerprint” as vague and ambiguous, overly

                                          19   broad, unduly burdensome, and not proportional to the needs of the case, as it does not identify the

                                          20   item or feature with specificity. Twitch will interpret this term as a Ruby on Rails fingerprint or a

                                          21   similar value that is calculated via a hash algorithm and that renders the name of a file dependent

                                          22   on the contents of the file.

                                          23           5.      Twitch objects to the definition of “Meeting” as overly broad and unduly

                                          24   burdensome, vague and ambiguous, not proportional to the needs of this case, and failing to

                                          25   describe the information sought with reasonable particularity.

                                          26           6.      Twitch objects to the definition of “Identify” and “Identity” as overly broad and

                                          27   unduly burdensome, vague and ambiguous, not proportional to the needs of this case, and failing

                                          28   to describe the information sought with reasonable particularity. Twitch will interpret these terms

                                                TWITCH’S RESPONSES AND OBJECTIONS TO              1                       CASE NO. 5:18-md-02834-BLF
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                                           1   as “List the person, entity, or document” and “the name, term, or number referring to the person,

                                           2   entity, or document,” respectively.

                                           3          7.      Twitch objects to the definition of “Document” as overly broad and unduly

                                           4   burdensome, vague and ambiguous, not proportional to the needs of this case, and failing to

                                           5   describe the information sought with reasonable particularity. Twitch will not search for documents

                                           6   that are not within its possession, custody, or control.

                                           7          8.      Twitch objects to the definition of “Thing” as overly broad and unduly burdensome,

                                           8   vague and ambiguous, not proportional to the needs of this case, and failing to describe the

                                           9   information sought with reasonable particularity.

                                          10          9.      Twitch objects to the definition of “Cache-Busting” as vague, ambiguous, overly

                                          11   broad, unduly burdensome, and not proportional to the needs of the case as it does not identify the

                                          12   item or feature with specificity, and PersonalWeb does not explain what is meant by “valid”
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                                          13   content.

                                          14          10.     Twitch objects to these requests and definitions to the extent that they seek to impose

                                          15   duties beyond those required by the Federal Rules of Civil Procedure and the Local Rules of this

                                          16   district. Twitch’s responses shall be made only in accordance with the applicable rule(s).

                                          17          11.     Twitch objects to these requests to the extent that they seek information equally

                                          18   available to PersonalWeb in the public domain or that is already in the possession, custody, or

                                          19   control of PersonalWeb.

                                          20          12.     Twitch objects to these requests to the extent that they seek information that is in

                                          21   the possession, custody, or control of parties over whom Twitch has no control.

                                          22          13.     Twitch objects to each and every instruction, definition, and request to the extent

                                          23   that it seeks the disclosure of information protected by the attorney-client privilege, the attorney

                                          24   work-product doctrine, or any other applicable privilege, immunity, or protection, as provided by

                                          25   any applicable law. Twitch does not intend to disclose such privileged or protected information.

                                          26   Twitch’s inadvertent disclosure of any such information should not be deemed a waiver of any

                                          27   privilege, immunity, or protection, and Twitch expressly reserves the right to object to the

                                          28   introduction at trial or to any other use of such information that may be inadvertently disclosed.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO              2                     CASE NO. 5:18-md-02834-BLF
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                                           1   Twitch objects to discovery of attorney-client privileged communications after the filing of this

                                           2   lawsuit and to discovery of work-product materials generated after the filing of this lawsuit.

                                           3          14.     Twitch objects to these requests to the extent they seek information concerning

                                           4   Amazon CloudFront.        CloudFront is not accused in PersonalWeb’s counterclaim against

                                           5   Amazon.com, Inc. or Amazon Web Services, Inc. (collectively “Amazon”) or in any of the

                                           6   complaints against Amazon’s customers, including Twitch; it is accordingly outside the scope of

                                           7   discovery in this case. Moreover, PersonalWeb does not have standing to bring claims against

                                           8   CloudFront. (See Reply in Support of Motion of Amazon.com, Inc.’s and Amazon Web Services,

                                           9   Inc. for Summary Judgment Claims and Defenses Under the Claim Preclusion and Kessler Doctrine

                                          10   (Dkt. No. 350) (“Reply”) at 8-10.) To the extent Twitch provides discovery on CloudFront, it does

                                          11   so explicitly without waiver of this objection.

                                          12          15.     Twitch objects to these requests to the extent they seek information concerning
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                                          13   Amazon Simple Storage System (S3). PersonalWeb’s infringement claims against Amazon and its

                                          14   customers, including Twitch, are barred by the doctrine of claim preclusion and the Supreme

                                          15   Court’s decision in Kessler v. Eldred, 206 U.S. 285 (1907). (See Order Granting in Part and

                                          16   Denying in Part Amazon’s Motion for Summary Judgment dated March 13, 2019 (“Summary

                                          17   Judgment Order”).) As such, any discovery concerning S3 is outside the scope of discovery in this

                                          18   case. To the extent Twitch provides discovery on S3, it does so explicitly without waiver of this

                                          19   objection.

                                          20          16.     Twitch objects to these requests to the extent they purport to include email. Email

                                          21   production is not required in patent cases, and any request for email is unduly burdensome and not

                                          22   proportional to the needs of the case. See, e.g., Court’s [Model] Stipulation & Order Re: Discovery

                                          23   of Electronically Stored Information for Patent Litigation (“General ESI production requests . . .

                                          24   shall not include email or other forms of electronic correspondence.”).

                                          25          17.     The responses given herein shall not be deemed to waive any claim of privilege or

                                          26   immunity Twitch may have as to any response, document, or thing, or any question or right of

                                          27   objection as to authenticity, competency, relevancy, materiality, admissibility, or any other

                                          28   objection Twitch may have as to a demand for further response to these or other requests, or to any

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             3                       CASE NO. 5:18-md-02834-BLF
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                                           1   objection to the use of such information, documents, or things in any other proceeding filed after

                                           2   the production of such information or documents.

                                           3             18.    Nothing contained herein may be construed as an admission relative to the existence

                                           4   or non-existence of any document, and no response may be construed as an admission with respect

                                           5   to the relevancy or admissibility in evidence of any statement or characterization contained in these

                                           6   requests or respecting the authenticity, competency, relevancy, materiality, or admissibility of any

                                           7   document or thing referenced by these requests.

                                           8             19.    Discovery in this matter is ongoing and Twitch reserves the right to revise or

                                           9   supplement any response herein.

                                          10             20.    These General Objections are applicable to and are incorporated in each specific

                                          11   response herein without further reference. The inclusion of specific objection(s) in response to any

                                          12   Requests for Production shall not be construed as a waiver of such objection(s), or any of these
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                                          13   objections, in any other response.

                                          14                                    RESPONSES AND OBJECTIONS
                                          15             Subject to the foregoing General Objections, which are incorporated by reference as if set

                                          16   forth fully in each and every response, Twitch also specifically responds and objects to the

                                          17   Document Request as follows:

                                          18   REQUEST FOR PRODUCTION NO. 1:

                                          19             All documents showing how You used Content-Based ETags during the Relevant Time

                                          20   Period.

                                          21   RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

                                          22             Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          23   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          24   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          25   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          26   information in response. If any information responsive to this request is subject to any

                                          27   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          28   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                                TWITCH’S RESPONSES AND OBJECTIONS TO              4                      CASE NO. 5:18-md-02834-BLF
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                                           1   permission to do so from the third party.

                                           2          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           3   in this action and not proportional to the needs of the case as it lacks geographic limitations. Twitch

                                           4   will only respond with respect to the United States.

                                           5          Twitch objects to the term “You” on the basis identified in the General Objections above

                                           6   and incorporates this basis herein. Twitch will interpret this term to refer to Twitch Interactive,

                                           7   Inc. only.

                                           8          Twitch objects to the undefined term “Content-Based ETags” as vague and ambiguous,

                                           9   overly broad, unduly burdensome, and not proportional to the needs of the case, as it does not

                                          10   identify the items or features with specificity. Twitch will interpret this term as ETags calculated

                                          11   based on contents of a corresponding file.

                                          12          Twitch objects to this request as overly broad, unduly burdensome, and not proportional to
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                                          13   the needs of the case in seeking all documents concerning how Twitch used “Content-Based

                                          14   ETags.”

                                          15          Twitch objects to this request to the extent it is duplicative of other discovery requests,

                                          16   including but not limited to Interrogatory No. 1.

                                          17          Subject to and without waiving any objections, Twitch responds as follows:

                                          18          Twitch will produce non-privileged, non-protected documents sufficient to how the

                                          19   www.twitch.tv website used ETags calculated based on contents of a corresponding file in HTTP

                                          20   requests during the time period of January 8, 2012 to December 26, 2016 for the United States, to

                                          21   the extent such documents exist in Twitch’s possession, custody, or control and can be identified

                                          22   upon a reasonable search.

                                          23          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          24   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          25   appropriate.

                                          26   REQUEST FOR PRODUCTION NO. 2:

                                          27          All documents identifying each major piece of software or hardware You used during the

                                          28   Relevant Time Period to generate, store or serve a Content-Based ETag or to process an HTTP

                                                TWITCH’S RESPONSES AND OBJECTIONS TO               5                     CASE NO. 5:18-md-02834-BLF
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                                           1   request that included the Content-Based ETag.

                                           2   RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

                                           3          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                           4   extent this request seeks information protected by the attorney-client privilege, attorney work

                                           5   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                           6   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                           7   information in response.      If any information responsive to this request is subject to any

                                           8   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                           9   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          10   permission to do so from the third party.

                                          11          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          12   in this action and not proportional to the needs of the case as it lacks geographic limitations. Twitch
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                                          13   will only respond with respect to the United States.

                                          14          Twitch objects to the term “You” on the basis identified in the General Objections above

                                          15   and incorporates this basis herein. Twitch will interpret this term to refer to Twitch Interactive,

                                          16   Inc. only.

                                          17          Twitch objects to the undefined term “Content-Based ETags” as vague and ambiguous,

                                          18   overly broad, unduly burdensome, and not proportional to the needs of the case, as it does not

                                          19   identify the items or features with specificity. Twitch will interpret this phrase as ETags calculated

                                          20   based on contents of a corresponding file. Twitch further objects to the undefined term “major piece

                                          21   of software or hardware” as overly broad, unduly burdensome, vague, and ambiguous, as it does

                                          22   not identify the information sought with sufficient particularity.

                                          23          Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                          24   the needs of the case in seeking all documents concerning “each major piece of software or hard-

                                          25   ware” used to generate ETags calculated based on contents of a corresponding file.

                                          26          Twitch objects to this request to the extent it is duplicative of other discovery requests,

                                          27   including but not limited to Interrogatory No. 1 and Request for Production No. 1.

                                          28          Subject to and without waiving any objections, Twitch responds as follows:

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                                           1          Twitch will produce non-privileged, non-protected documents sufficient to show the

                                           2   www.twitch.tv website used ETags calculated based on contents of a corresponding file in HTTP

                                           3   requests during the time period of January 8, 2012 to December 26, 2016 for the United States, to

                                           4   the extent such documents exist in Twitch’s possession, custody, or control and can be identified

                                           5   upon a reasonable search.

                                           6          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           7   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           8   appropriate.

                                           9   REQUEST FOR PRODUCTION NO. 3:

                                          10          All documents showing how You used a Fingerprint during the Relevant Time Period.

                                          11   RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

                                          12          Twitch incorporates by reference its General Objections as if fully set forth herein. To the
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                                          13   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          14   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          15   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          16   information in response. If any information responsive to this request is subject to any

                                          17   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          18   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          19   permission to do so from the third party.

                                          20          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          21   in this action and not proportional to the needs of the case as it lacks geographic limitations. Twitch

                                          22   will only respond with respect to the United States.

                                          23          Twitch objects to the terms “Fingerprint” and “You” on the bases identified in the General

                                          24   Objections above and incorporates those bases herein. Twitch will interpret these terms as a Ruby

                                          25   on Rails fingerprint or a similar value that is calculated via a hash algorithm and that renders the

                                          26   name of a file dependent on the contents of the file and Twitch Interactive, Inc., respectively.

                                          27          Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                          28   the needs of the case in seeking all documents concerning Twitch’s use of Ruby on Rails

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                                           1   fingerprints or similar values.

                                           2          Twitch objects to this request to the extent it is duplicative of other discovery requests,

                                           3   including but not limited to Interrogatory No. 2.

                                           4          Subject to and without waiving any objections, Twitch responds as follows:

                                           5          Twitch will produce non-privileged, non-protected documents sufficient to show the

                                           6   www.twitch.tv website used a Ruby on Rails fingerprint or a similar value that is calculated via a

                                           7   hash algorithm and that renders the name of a file dependent on the contents of the file in HTTP

                                           8   requests during the time period of January 8, 2012 to December 26, 2016 for the United States, to

                                           9   the extent such documents exist in Twitch’s possession, custody, or control and can be identified

                                          10   upon a reasonable search.

                                          11          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          12   amend, or modify its response to this request as additional facts are learned and as otherwise
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                                          13   appropriate.

                                          14   REQUEST FOR PRODUCTION NO. 4:

                                          15          All documents identifying each major piece of software or hardware used during the

                                          16   Relevant Time Period to generate, store or serve a Fingerprint or to process an HTTP request that

                                          17   included the Fingerprint.

                                          18   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

                                          19          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          20   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          21   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          22   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          23   information in response. If any information responsive to this request is subject to any

                                          24   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          25   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          26   permission to do so from the third party.

                                          27          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          28   in this action and not proportional to the needs of the case as it lacks geographic limitations. Twitch

                                                TWITCH’S RESPONSES AND OBJECTIONS TO               8                     CASE NO. 5:18-md-02834-BLF
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                                           1   will only respond with respect to the United States.

                                           2          Twitch objects to the term “Fingerprint” on the basis identified in the General Objections

                                           3   above and incorporates this basis herein. Twitch will interpret this term as a Ruby on Rails

                                           4   fingerprint or a similar value that is calculated via a hash algorithm and that renders the name of a

                                           5   file dependent on the contents of the file.

                                           6          Twitch further objects to the undefined term “major piece of software or hardware” as

                                           7   overly broad, unduly burdensome, vague, and ambiguous, as it does not identify the information

                                           8   sought with sufficient particularity.

                                           9          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          10   not limited to Interrogatory No. 3.

                                          11          Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                          12   the needs of the case in seeking all documents concerning “each major piece of software or
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                                          13   hardware” used in connection with Ruby on Rails fingerprints or similar values and processing

                                          14   HTTP requests including such fingerprints.

                                          15          Subject to and without waiving any objections, Twitch responds as follows:

                                          16          Twitch will produce non-privileged, non-protected documents sufficient to show the

                                          17   www.twitch.tv website used a Ruby on Rails fingerprint or a similar value that is calculated via a

                                          18   hash algorithm and that renders the name of a file dependent on the contents of the file in HTTP

                                          19   requests during the time period of January 8, 2012 to December 26, 2016 for the United States, to

                                          20   the extent such documents exist in Twitch’s possession, custody, or control and can be identified

                                          21   upon a reasonable search.

                                          22          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          23   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          24   appropriate.

                                          25   REQUEST FOR PRODUCTION NO. 5:

                                          26          All documents discussing why You used a Content-Based ETag during the Relevant Time

                                          27   Period including but not limited to any reason or advantage factored into Your decision to use a

                                          28   Content-Based ETag.

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                                           1   RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

                                           2           Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                           3   extent this request seeks information protected by the attorney-client privilege, attorney work

                                           4   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                           5   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                           6   information in response. If any information responsive to this request is subject to any

                                           7   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                           8   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                           9   permission to do so from the third party.

                                          10           Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          11   in this action and not proportional to the needs of the case as it lacks geographic limitations. Twitch

                                          12   will only respond with respect to the United States.
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                                          13           Twitch objects to the terms “You” and “Your” on the basis identified in the General

                                          14   Objections above and incorporates those bases herein. Twitch will interpret these term as Twitch

                                          15   Interactive, Inc.

                                          16           Twitch objects to the term “Content-Based Etags” as vague and ambiguous, overly broad,

                                          17   unduly burdensome, and not proportional to the needs of the case, as it does not identify the items

                                          18   or features with specificity. Twitch will interpret this term as ETags calculated based on contents

                                          19   of a corresponding file. Twitch further objects to the term “advantage” as overly broad, unduly

                                          20   burdensome, vague, and ambiguous.

                                          21           Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          22   not limited to Interrogatory No. 3 and Request For Production Nos. 1-2.

                                          23           Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                          24   the needs of the case in seeking all documents relating to why Twitch used ETags calculated based

                                          25   on contents of a corresponding file.

                                          26           Subject to and without waiving any objections, Twitch responds as follows:

                                          27           Twitch will produce non-privileged, non-protected documents sufficient to show any ben-

                                          28   efits of using ETags calculated based on contents of a corresponding file on the www.twitch.tv

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             10                      CASE NO. 5:18-md-02834-BLF
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                                           1   website during the time period of January 8, 2012 to December 26, 2016 for the United States, to

                                           2   the extent such documents exist in Twitch’s possession, custody, or control and can be identified

                                           3   upon a reasonable search.

                                           4          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           5   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           6   appropriate.

                                           7   REQUEST FOR PRODUCTION NO. 6:

                                           8          All documents discussing why You used a Fingerprint during the Relevant Time Period

                                           9   including but not limited to any reason or advantage factored into Your decision to use a

                                          10   Fingerprint.

                                          11   RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

                                          12          Twitch incorporates by reference its General Objections as if fully set forth herein. To the
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                                          13   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          14   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          15   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          16   information in response. If any information responsive to this request is subject to any

                                          17   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          18   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          19   permission to do so from the third party.

                                          20          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          21   in this action and not proportional to the needs of the case as it lacks geographic limitations. Twitch

                                          22   will only respond with respect to the United States.

                                          23          Twitch objects to the terms “You,” “Your,” and “Fingerprint” on the bases identified in the

                                          24   General Objections above and incorporates those bases herein. Twitch will interpret the first two

                                          25   terms as Twitch Interactive, Inc. and the third as a Ruby on Rails fingerprint or a similar value that

                                          26   is calculated via a hash algorithm and that renders the name of a file dependent on the contents of

                                          27   the file. Twitch objects to the term “advantage” as overly broad, unduly burdensome, vague, and

                                          28   ambiguous.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             11                      CASE NO. 5:18-md-02834-BLF
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                                           1          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                           2   not limited to Interrogatory No. 3, and Request For Production Nos. 3-4.

                                           3          Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                           4   the needs of the case in seeking all documents relating to why Twitch used Ruby on Rails

                                           5   fingerprint or a similar value.

                                           6          Subject to and without waiving any objections, Twitch responds as follows:

                                           7          Twitch will produce non-privileged, non-protected documents sufficient to show any

                                           8   benefits of using Fingerprints calculated based on contents of a corresponding file on the

                                           9   www.twitch.tv website during the time period of January 8, 2012 to December 26, 2016 for the

                                          10   United States, to the extent such documents exist in Twitch’s possession, custody, or control and

                                          11   can be identified upon a reasonable search.

                                          12          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,
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                                          13   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          14   appropriate.

                                          15   REQUEST FOR PRODUCTION NO. 7:

                                          16          All Documents including, but not limited to, deposition testimony summarizing your net

                                          17   income, gross revenue, costs of goods sold, and/or operating expenses during the Relevant Time

                                          18   Period, broken out monthly or by the lowest level of temporal aggregation maintained in the

                                          19   ordinary course of business, for each distinct source of revenue that you track in the ordinary course

                                          20   of business.

                                          21   RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

                                          22          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          23   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          24   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          25   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          26   information in response.      If any information responsive to this request is subject to any

                                          27   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          28   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            12                      CASE NO. 5:18-md-02834-BLF
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                                           1   permission to do so from the third party.

                                           2          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           3   in this action and not proportional to the needs of the case as it lacks geographic limitations. Twitch

                                           4   will only respond with respect to the United States.

                                           5          Twitch objects to the term “you” on the basis identified in the General Objections above

                                           6   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                           7          Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                           8   the needs of the case in seeking all documents relating to Twitch’s income, revenue, costs of goods

                                           9   sold, and operating expenses.

                                          10          Subject to and without waiving any objections, Twitch responds as follows:

                                          11          Twitch will produce non-privileged, non-protected documents sufficient to show revenue

                                          12   and cost information from the www.twitch.tv website during the time period of January 8, 2012 to
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                                          13   December 26, 2016 for the United States, to the extent such documents exist in Twitch’s possession,

                                          14   custody, or control and can be identified upon a reasonable search.

                                          15          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          16   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          17   appropriate.

                                          18   REQUEST FOR PRODUCTION NO. 8:

                                          19          All Documents including, but not limited to, deposition testimony summarizing Your

                                          20   volume of website data traffic in terms of the number of HTTP messages, number of bytes, or both,

                                          21   sent with Content-Based ETags and/or Fingerprints during the Relevant Time Period, broken out

                                          22   monthly or by the lowest level of temporal aggregation maintained in the ordinary course of

                                          23   business.

                                          24   RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

                                          25          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          26   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          27   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          28   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             13                      CASE NO. 5:18-md-02834-BLF
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                                           1   information in response.      If any information responsive to this request is subject to any

                                           2   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                           3   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                           4   permission to do so from the third party.

                                           5          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           6   in this action and not proportional to the needs of the case as it lacks geographic limitations. Twitch

                                           7   will only respond with respect to the United States.

                                           8          Twitch objects to the terms “Your” and “Fingerprints” on the bases identified in the General

                                           9   Objections above and incorporates those bases herein. Twitch will interpret these terms as Twitch

                                          10   Interactive, Inc. and a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                          11   algorithm and that renders the name of a file dependent on the contents of the file,” respectively.

                                          12          Twitch objects to the undefined term “Content-Based Etags” as vague and ambiguous,
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                                          13   overly broad, unduly burdensome, and not proportional to the needs of the case, as it does not

                                          14   identify the items or features with specificity. Twitch will interpret this term as ETag calculated

                                          15   based on contents of a corresponding file.

                                          16          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          17   not limited to Interrogatory No. 6 and Request For Production Nos. 1 and 3.

                                          18          Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                          19   the needs of the case in seeking all documents relating to website data sent with Ruby on Rails

                                          20   fingerprints or a similar value, and ETags calculated based on contents of a corresponding file.

                                          21          Subject to and without waiving any objections, Twitch responds as follows:

                                          22          Twitch does not have information in its possession, custody, or control reflecting the

                                          23   number of requests or responses with ETags in HTTP 200 message headers or HTTP 304

                                          24   messages from January 8, 2012 through December 26, 2016.

                                          25   REQUEST FOR PRODUCTION NO. 9:

                                          26          All Documents including, but not limited to, deposition testimony reflecting any study

                                          27   regarding cache busting from any standpoint including but not limited to any impact, benefit,

                                          28   advantage or effect of using cache busting in relation to user experience, competitiveness, revenue

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                                           1   generation, cost savings, cost savings, or any financial or technical advantage.

                                           2   RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

                                           3              Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                           4   extent this request seeks information protected by the attorney-client privilege, attorney work

                                           5   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                           6   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                           7   information in response. If any information responsive to this request is subject to any

                                           8   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                           9   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          10   permission to do so from the third party.

                                          11              Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          12   in this action and not proportional to the needs of the case as it lacks temporal and geographic
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                                          13   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                          14   December 26, 2016 and the United States.

                                          15              Twitch objects to the undefined terms “study” and “standpoint” as vague and ambiguous,

                                          16   overly broad, unduly burdensome, and not proportional to the needs of the case, as they do not

                                          17   identify the items or features with specificity. Twitch will interpret these phrases as a detailed

                                          18   investigation and analysis and an attitude or outlook on issues, respectively

                                          19              Twitch further objects to the phrase “regarding cache busting” as vague, ambiguous, and

                                          20   not proportional to the needs of the case, as it does not identify the information sought with partic-

                                          21   ularity.

                                          22              Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                          23   the needs of the case in seeking all documents relating to any analysis of verifying cache versions

                                          24   in a browser.

                                          25              Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          26   not limited to Interrogatory Nos. 7 and 8.

                                          27              Subject to and without waiving any objections, Twitch responds as follows:

                                          28

                                                TWITCH’S RESPONSES AND OBJECTIONS TO                15                      CASE NO. 5:18-md-02834-BLF
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                                           1             Twitch will produce non-privileged, non-protected documents sufficient to show any com-

                                           2   parison of using a Ruby on Rails fingerprint or a similar value that is calculated via a hash algorithm

                                           3   and that renders the name of a file dependent on the contents of the file or ETags calculated based

                                           4   on contents of a corresponding file to alternative technology on the www.twitch.tv website during

                                           5   the time period of January 8, 2012 to December 26, 2016 for the United States, to the extent such

                                           6   documents exist in Twitch’s possession, custody, or control and can be identified upon a reasonable

                                           7   search.

                                           8             Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           9   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          10   appropriate.

                                          11   REQUEST FOR PRODUCTION NO. 10:

                                          12             All Documents including, but not limited to, deposition testimony that states the pricing of
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                                          13   Your products and services from 2011 to the present.

                                          14   RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

                                          15             Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          16   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          17   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          18   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          19   information in response. If any information responsive to this request is subject to any

                                          20   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          21   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          22   permission to do so from the third party.

                                          23             Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          24   in this action and not proportional to the needs of the case as it lacks appropriate temporal and

                                          25   geographic limitations. Twitch will only respond with respect to the time period from January 8,

                                          26   2012 until December 26, 2016 and the United States.

                                          27             Twitch objects to the term “Your” on the basis identified in the General Objections above

                                          28   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

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                                           1          Twitch objects to this request as unduly burdensome to the extent it seeks information that

                                           2   is publicly available. Twitch objects to this request as overly broad, unduly burdensome, seeking

                                           3   information not relevant to a claim or defense in this action, and not proportional to the needs of

                                           4   the case in seeking all documents relating to the pricing of all products and services from 2011 to

                                           5   present, rather than pricing and revenue information relating to the accused twitch.tv domain.

                                           6          Subject to and without waiving any objections, Twitch responds as follows:

                                           7          Twitch will produce non-privileged, non-protected documents sufficient to show pricing to

                                           8   view content on the www.twitch.tv website during the time period of January 8, 2012 to December

                                           9   26, 2016 for the United States, to the extent such documents exist in Twitch’s possession, custody,

                                          10   or control and can be identified upon a reasonable search.

                                          11          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          12   amend, or modify its response to this request as additional facts are learned and as otherwise
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                                          13   appropriate.

                                          14   REQUEST FOR PRODUCTION NO. 11:

                                          15          All Documents including, but not limited to, deposition testimony that states the marketing

                                          16   of Your products and services from 2011 to the present.

                                          17   RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

                                          18          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          19   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          20   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          21   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          22   information in response. If any information responsive to this request is subject to any

                                          23   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          24   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          25   permission to do so from the third party.

                                          26          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          27   in this action and not proportional to the needs of the case as it lacks appropriate temporal and

                                          28   geographic limitations. Twitch will only respond with respect to the time period from January 8,

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                                           1   2012 until December 26, 2016 and the United States.

                                           2          Twitch objects to the term “Your” on the basis identified in the General Objections above

                                           3   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                           4          Twitch objects to this request as unduly burdensome to the extent it seeks information that

                                           5   is publicly available. Twitch objects to this request as overly broad, unduly burdensome, and not

                                           6   proportional to the needs of the case in seeking all documents relating to the marketing of all

                                           7   products and services since 2011.

                                           8          Subject to and without waiving any objections, Twitch responds as follows:

                                           9          Twitch will produce non-privileged, non-protected documents sufficient to show any mar-

                                          10   keting plan concerning the www.twitch.tv website during the time period of January 8, 2012 to

                                          11   December 26, 2016 for the United States, to the extent such documents exist in Twitch’s possession,

                                          12   custody, or control and can be identified upon a reasonable search.
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                                          13          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          14   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          15   appropriate.

                                          16   REQUEST FOR PRODUCTION NO. 12:

                                          17          All Documents including, but not limited to, deposition testimony that states any analysis

                                          18   of the technical factors that impact Your profitability or competitiveness, including but not limited

                                          19   to the required bandwidth or time needed to load Your webpages.

                                          20   RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

                                          21          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          22   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          23   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          24   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          25   information in response.     If any information responsive to this request is subject to any

                                          26   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          27   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          28   permission to do so from the third party.

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                                           1          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           2   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                           3   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                           4   December 26, 2016 and the United States.

                                           5          Twitch objects to the term “Your” on the basis identified in the General Objections above

                                           6   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                           7          Twitch further objects to the undefined phrase “technical factors” as overly broad, unduly

                                           8   burdensome, vague, and ambiguous, as it does not identify the items or features with specificity.

                                           9          Twitch objects to this request as unduly burdensome to the extent it seeks information that

                                          10   is publicly available. Twitch objects to this request as overly broad, unduly burdensome, and not

                                          11   proportional to the needs of the case in seeking all documents analyzing the “technical factors” that

                                          12   impact Twitch’s “profitability or competitiveness.”
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                                          13          Subject to and without waiving any objections, Twitch responds as follows:

                                          14          Twitch will produce non-privileged, non-protected documents sufficient to show what if

                                          15   any technical features impacted the market position of the www.twitch.tv website during the time

                                          16   period of January 8, 2012 to December 26, 2016 for the United States, to the extent such documents

                                          17   exist in Twitch’s possession, custody, or control and can be identified upon a reasonable search.

                                          18          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          19   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          20   appropriate.

                                          21   REQUEST FOR PRODUCTION NO. 13:

                                          22          All Documents including, but not limited to, deposition testimony that states any analysis

                                          23   of the technical factors that impact the user experience or customer satisfaction of the customers or

                                          24   users of Your products or services, including but not limited to the required bandwidth or time

                                          25   needed to load Your webpages.

                                          26   RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

                                          27          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          28   extent this request seeks information protected by the attorney-client privilege, attorney work

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                                           1   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                           2   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                           3   information in response.        If any information responsive to this request is subject to any

                                           4   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                           5   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                           6   permission to do so from the third party.

                                           7             Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           8   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                           9   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                          10   December 26, 2016 and the United States.

                                          11             Twitch objects to the term “Your” on the basis identified in the General Objections above

                                          12   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.
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                                          13             Twitch further objects to the undefined term “technical factors” as overly broad, unduly

                                          14   burdensome, vague, and ambiguous, as it does not identify the items or features with specificity.

                                          15             Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                          16   the needs of the case in seeking all documents relating to customers’ experience of all of Twitch’s

                                          17   products and services.

                                          18             Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          19   not limited to Request For Production No. 12.

                                          20             Subject to and without waiving any objections, Twitch responds as follows:

                                          21             Twitch will produce non-privileged, non-protected documents sufficient to show what if

                                          22   any technical features impacted the customer preference for the www.twitch.tv website during the

                                          23   time period of January 8, 2012 to December 26, 2016 for the United States, to the extent such

                                          24   documents exist in Twitch’s possession, custody, or control and can be identified upon a reasonable

                                          25   search.

                                          26             Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          27   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          28   appropriate.

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                                           1   REQUEST FOR PRODUCTION NO. 14:

                                           2          All Documents including, but not limited to, deposition testimony about any analysis of

                                           3   cache busting, including but not limited to its impact on cost, bandwidth needed to load webpages,

                                           4   speed of loading webpages, user experience, competitiveness or profitability.

                                           5   RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

                                           6          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                           7   extent this request seeks information protected by the attorney-client privilege, attorney work

                                           8   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                           9   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          10   information in response.      If any information responsive to this request is subject to any

                                          11   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          12   only after it complies with those obligations, and, if necessary, only after it obtains the required
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                                          13   permission to do so from the third party.

                                          14          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          15   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                          16   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                          17   December 26, 2016 and the United States.

                                          18          Twitch objects to the term “Your” on the basis identified in the General Objections above

                                          19   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                          20          Twitch further objects to the phrase “cache busting” as vague, ambiguous, and not propor-

                                          21   tional to the needs of the case, as it does not identify the information sought with particularity.

                                          22          Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                          23   the needs of the case in seeking all documents relating to cache busting on Twitch’s webpages.

                                          24          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          25   not limited to Request For Production Nos. 12-13.

                                          26          Subject to and without waiving any objections, Twitch responds as follows:

                                          27          Twitch will produce non-privileged, non-protected documents sufficient to show the costs

                                          28   and benefits of using a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             21                      CASE NO. 5:18-md-02834-BLF
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                                           1   algorithm and that renders the name of a file dependent on the contents of the file or ETags calcu-

                                           2   lated based on contents of a corresponding file during the time period of January 8, 2012 to De-

                                           3   cember 26, 2016 for the United States, to the extent such documents exist in Twitch’s possession,

                                           4   custody, or control and can be identified upon a reasonable search.

                                           5          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           6   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           7   appropriate.

                                           8   REQUEST FOR PRODUCTION NO. 15:

                                           9          All Documents including, but not limited to, deposition testimony that states the pricing or

                                          10   the reasons underlying the pricing of YOUR products and services from 2011 to the present.

                                          11   RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

                                          12          Twitch incorporates by reference its General Objections as if fully set forth herein. To the
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                                          13   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          14   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          15   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          16   information in response.     If any information responsive to this request is subject to any

                                          17   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          18   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          19   permission to do so from the third party.

                                          20          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          21   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                          22   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                          23   December 26, 2016 and the United States.

                                          24          Twitch objects to the term “Your” on the basis identified in the General Objections above

                                          25   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                          26          Twitch objects to this request as unduly burdensome to the extent it seeks information that

                                          27   is publicly available. Twitch objects to this request as overly broad, unduly burdensome, not

                                          28   relevant to the claims and defenses in this action, and not proportional to the needs of the case in

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            22                      CASE NO. 5:18-md-02834-BLF
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                                           1   seeking all documents relating to the pricing of all products and services from 2011 to present,

                                           2   rather than pricing and revenue information relating to the accused twitch.tv domain.

                                           3             Twitch objects to this request to the extent it is duplicative of other requests, including but

                                           4   not limited to Request For Production No. 10.

                                           5             Subject to and without waiving any objections, Twitch responds as follows:

                                           6             Twitch will produce non-privileged, non-protected documents sufficient to show pricing to

                                           7   view content on the www.twitch.tv website during the time period of January 8, 2012 to December

                                           8   26, 2016 for the United States, to the extent such documents exist in Twitch’s possession, custody,

                                           9   or control and can be identified upon a reasonable search.

                                          10             Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          11   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          12   appropriate.
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                                          13   REQUEST FOR PRODUCTION NO. 16:

                                          14             All Documents including, but not limited to, deposition testimony that states the U.S. sales

                                          15   units or revenues YOU realized from providing products and services during the Relevant Time

                                          16   Period.

                                          17   RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

                                          18             Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          19   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          20   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          21   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          22   information in response. If any information responsive to this request is subject to any

                                          23   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          24   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          25   permission to do so from the third party.

                                          26             Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          27   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                          28   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                                TWITCH’S RESPONSES AND OBJECTIONS TO               23                      CASE NO. 5:18-md-02834-BLF
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                                           1   December 26, 2016 and the United States.

                                           2          Twitch objects to the term “You” on the basis identified in the General Objections above

                                           3   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                           4          Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                           5   the needs of the case in seeking all documents relating to U.S. sales of Twitch’s products and

                                           6   services, rather than revenue information relating to the accused twitch.tv domain.

                                           7          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                           8   not limited to Request For Production No. 7.

                                           9          Subject to and without waiving any objections, Twitch responds as follows:

                                          10          Twitch will produce non-privileged, non-protected documents sufficient to show revenue

                                          11   information for the www.twitch.tv website during the time period of January 8, 2012 to December

                                          12   26, 2016 for the United States, to the extent such documents exist in Twitch’s possession, custody,
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                                          13   or control and can be identified upon a reasonable search.

                                          14          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          15   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          16   appropriate.

                                          17   REQUEST FOR PRODUCTION NO. 17:

                                          18          All Documents including, but not limited to, deposition testimony stating any studies of the

                                          19   use of cache busting from any standpoint, including but not limited to from the standpoint of its

                                          20   impact on user experience, competitiveness, revenue generation, cost saving, bandwidth needed to

                                          21   load webpages, speed of loading webpages, or any other financial or technical advantage.

                                          22   RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

                                          23          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          24   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          25   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          26   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          27   information in response. If any information responsive to this request is subject to any

                                          28   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            24                      CASE NO. 5:18-md-02834-BLF
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                                           1   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                           2   permission to do so from the third party.

                                           3          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           4   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                           5   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                           6   December 26, 2016 and the United States.

                                           7          Twitch objects to the undefined terms “studies” and “standpoint” as vague and ambiguous,

                                           8   overly broad, unduly burdensome, and not proportional to the needs of the case, as they do not

                                           9   identify the items or features with specificity. Twitch will interpret these phrases as detailed

                                          10   investigations and analyses and an attitude or outlook on issues, respectively.

                                          11          Twitch further objects to the phrase “cache busting” as vague, ambiguous, and not propor-

                                          12   tional to the needs of the case, as it does not identify the information sought with particularity.
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                                          13          Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                          14   the needs of the case in seeking all documents relating to cache busting on Twitch’s webpages.

                                          15          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          16   not limited to Request For Production No. 14.

                                          17          Subject to and without waiving any objections, Twitch responds as follows:

                                          18          Twitch will produce non-privileged, non-protected documents sufficient to show the costs

                                          19   and benefits of using a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                          20   algorithm and that renders the name of a file dependent on the contents of the file or ETags calcu-

                                          21   lated based on contents of a corresponding file on the www.twitch.tv website during the time period

                                          22   of January 8, 2012 to December 26, 2016 for the United States, to the extent such documents exist

                                          23   in Twitch’s possession, custody, or control and can be identified upon a reasonable search.

                                          24          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          25   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          26   appropriate.

                                          27   REQUEST FOR PRODUCTION NO. 18:

                                          28          All Documents including, but not limited to, deposition testimony stating all facts about any

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             25                      CASE NO. 5:18-md-02834-BLF
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                                           1   studies of various available methods to implement cache busting or the advantages or disadvantages

                                           2   of any such methods.

                                           3   RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

                                           4              Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                           5   extent this request seeks information protected by the attorney-client privilege, attorney work

                                           6   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                           7   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                           8   information in response. If any information responsive to this request is subject to any

                                           9   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          10   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          11   permission to do so from the third party.

                                          12              Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense
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                                          13   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                          14   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                          15   December 26, 2016 and the United States.

                                          16              Twitch objects to the undefined term “studies” as vague and ambiguous, overly broad,

                                          17   unduly burdensome, and not proportional to the needs of the case, as it does not identify the items

                                          18   or features with specificity. Twitch will interpret this phrase as detailed investigations and analyses.

                                          19              Twitch further objects to the phrase “regarding cache busting” as vague, ambiguous, and

                                          20   not proportional to the needs of the case, as it does not identify the information sought with partic-

                                          21   ularity.

                                          22              Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                          23   the needs of the case in seeking all documents relating to cache busting on Twitch’s webpages.

                                          24              Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          25   not limited to Request For Production Nos. 14 and 17.

                                          26              Subject to and without waiving any objections, Twitch responds as follows:

                                          27              Twitch will produce non-privileged, non-protected documents sufficient to show the costs

                                          28   and benefits of using a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                                TWITCH’S RESPONSES AND OBJECTIONS TO                26                      CASE NO. 5:18-md-02834-BLF
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                                           1   algorithm and that renders the name of a file dependent on the contents of the file or ETags calcu-

                                           2   lated based on contents of a corresponding file on the www.twitch.tv website during the time period

                                           3   of January 8, 2012 to December 26, 2016 for the United States, to the extent such documents exist

                                           4   in Twitch’s possession, custody, or control and can be identified upon a reasonable search.

                                           5          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           6   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           7   appropriate.

                                           8   REQUEST FOR PRODUCTION NO. 19:

                                           9          Any industry analysis, marketing reports, or other competitive intelligence reports for the

                                          10   market, including but not limited to any such analyses or reports that state all facts about the markets

                                          11   that You operate in.

                                          12   RESPONSE TO REQUEST FOR PRODUCTION NO. 19:
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                                          13          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          14   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          15   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          16   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          17   information in response.      If any information responsive to this request is subject to any

                                          18   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          19   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          20   permission to do so from the third party.

                                          21          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          22   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                          23   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                          24   December 26, 2016 and the United States.

                                          25          Twitch objects to the term “You” on the basis identified in the General Objections above

                                          26   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                          27

                                          28

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                                           1          Twitch objects to the undefined term “the market” as vague and ambiguous, overbroad,

                                           2   unduly burdensome, and not proportional to the needs of the case, as it does not describe the infor-

                                           3   mation sought with particularity.

                                           4          Twitch objects to this request as unduly burdensome to the extent it seeks information that

                                           5   is publicly available. Twitch objects to this request to the extent it seeks information that is not

                                           6   relevant to any issue in this case or is not proportional to the needs of the case.

                                           7          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                           8   not limited to Request For Production No. 18.

                                           9          Subject to and without waiving any objections, Twitch responds as follows:

                                          10          Twitch is willing to meet and confer with PersonalWeb to understand what, if any, non-

                                          11   privileged, relevant, and proportional to the needs of the case discovery it seeks.

                                          12   REQUEST FOR PRODUCTION NO. 20:
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                                          13          Any industry analysis, marketing reports, or other competitive intelligence reports for the

                                          14   market, including but not limited to any such analyses or reports that state all facts about the

                                          15   competitors and competitive dynamics in the markets that You operate in.

                                          16   RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

                                          17          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          18   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          19   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          20   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          21   information in response.      If any information responsive to this request is subject to any

                                          22   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          23   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          24   permission to do so from the third party.

                                          25          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          26   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                          27   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                          28   December 26, 2016 and the United States.

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                                           1          Twitch objects to the undefined term “the market” as vague and ambiguous, overbroad,

                                           2   unduly burdensome, and not proportional to the needs of the case, as it does not describe the infor-

                                           3   mation sought with particularity.

                                           4          Twitch objects to the term “You” on the basis identified in the General Objections above

                                           5   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                           6          Twitch objects to this request as unduly burdensome to the extent it seeks information that

                                           7   is publicly available. Twitch objects to this request to the extent it seeks information that is not

                                           8   relevant to any issue in this case or is not proportional to the needs of the case.

                                           9          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          10   not limited to Request For Production Nos. 18-19.

                                          11          Subject to and without waiving any objections, Twitch responds as follows:

                                          12          Twitch is willing to meet and confer with PersonalWeb to understand what, if any, non-
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                                          13   privileged, relevant, and proportional to the needs of the case discovery it seeks.

                                          14   REQUEST FOR PRODUCTION NO. 21:

                                          15          Any industry analysis, marketing reports, or other competitive intelligence reports for the

                                          16   market, including but not limited to any such analyses or reports that state all facts about Your share

                                          17   of the markets that You operate in.

                                          18   RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

                                          19          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          20   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          21   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          22   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          23   information in response. If any information responsive to this request is subject to any

                                          24   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          25   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          26   permission to do so from the third party.

                                          27          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          28   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             29                       CASE NO. 5:18-md-02834-BLF
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                                           1   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                           2   December 26, 2016 and the United States.

                                           3           Twitch objects to the terms “You” and “Your” on the basis identified in the General

                                           4   Objections above and incorporates this basis herein. Twitch will interpret these terms as Twitch

                                           5   Interactive, Inc.

                                           6           Twitch objects to the undefined term “the market” as vague and ambiguous, overbroad,

                                           7   unduly burdensome, and not proportional to the needs of the case, as it does not describe the infor-

                                           8   mation sought with particularity.

                                           9           Twitch objects to this request as unduly burdensome to the extent it seeks information that

                                          10   is publicly available. Twitch objects to this request to the extent it seeks information that is not

                                          11   relevant to any issue in this case or is not proportional to the needs of the case.

                                          12           Twitch objects to this request to the extent it is duplicative of other requests, including but
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                                          13   not limited to Request For Production Nos. 18-20.

                                          14           Subject to and without waiving any objections, Twitch responds as follows:

                                          15           Twitch is willing to meet and confer with PersonalWeb to understand what, if any, non-

                                          16   privileged, relevant, and proportional to the needs of the case discovery it seeks.

                                          17   REQUEST FOR PRODUCTION NO. 22:

                                          18           All Documents including, but not limited to, deposition testimony that states all facts about

                                          19   any analysis of expected revenues including but not limited to budgets, pro formas and projections.

                                          20   RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

                                          21           Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          22   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          23   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          24   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          25   information in response. If any information responsive to this request is subject to any

                                          26   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          27   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          28   permission to do so from the third party.

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                                           1          Twitch objects to this request as vague and ambiguous, overly broad, not relevant to any

                                           2   claim or defense in this action and not proportional to the needs of the case as it lacks temporal and

                                           3   geographic limitations and purports to seek expected revenues. Twitch will only respond with

                                           4   respect to the time period from January 8, 2012 until December 26, 2016 and the United States.

                                           5          Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                           6   the needs of the case in seeking all documents relating to Twitch’s expected revenue.

                                           7          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                           8   not limited to Request For Production No. 7.

                                           9          Subject to and without waiving any objections, Twitch responds as follows:

                                          10          Twitch will produce non-privileged, non-protected documents sufficient to show revenue

                                          11   information from the www.twitch.tv website during the time period of January 8, 2012 to December

                                          12   26, 2016 for the United States, to the extent such documents exist in Twitch’s possession, custody,
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                                          13   or control and can be identified upon a reasonable search.

                                          14          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          15   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          16   appropriate.

                                          17   REQUEST FOR PRODUCTION NO. 23:

                                          18          All Documents including, but not limited to, deposition testimony that states all facts about

                                          19   any business valuations or appraisals including but not limited to business valuations or appraisals

                                          20   in connection with Your sale to Amazon.

                                          21   RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

                                          22          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          23   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          24   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          25   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          26   information in response.      If any information responsive to this request is subject to any

                                          27   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          28   only after it complies with those obligations, and, if necessary, only after it obtains the required

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                                           1   permission to do so from the third party.

                                           2          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           3   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                           4   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                           5   December 26, 2016 and the United States.

                                           6          Twitch objects to the term “Your” on the basis identified in the General Objections above

                                           7   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                           8          Twitch objects to the undefined term “Amazon” as vague and ambiguous, overly broad,

                                           9   unduly burdensome, and not proportional to the needs of the case. Twitch will interpret this term

                                          10   as Amazon.com, Inc. only.

                                          11          Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                          12   the needs of the case in seeking all documents relating to Twitch’s valuations. Twitch objects to
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                                          13   this request to the extent it seeks information that is not relevant to any issue in this case or is not

                                          14   proportional to the needs of the case.

                                          15          Subject to and without waiving any objections, Twitch responds as follows:

                                          16          Twitch is willing to meet and confer with PersonalWeb to understand what, if any, non-

                                          17   privileged, relevant, and proportional to the needs of the case discovery it seeks.

                                          18   REQUEST FOR PRODUCTION NO. 24:

                                          19          Any business valuations or appraisals of You including but not limited to business

                                          20   valuations or appraisals made in connection with Your sale to Amazon.

                                          21   RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

                                          22          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          23   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          24   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          25   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          26   information in response.      If any information responsive to this request is subject to any

                                          27   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          28   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             32                       CASE NO. 5:18-md-02834-BLF
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                                           1   permission to do so from the third party.

                                           2           Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           3   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                           4   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                           5   December 26, 2016 and the United States.

                                           6           Twitch objects to the terms “You” and “Your” on the basis identified in the General

                                           7   Objections above and incorporates this basis herein. Twitch will interpret these terms as Twitch

                                           8   Interactive, Inc.

                                           9           Twitch objects to the undefined term “Amazon” as vague and ambiguous, overly broad,

                                          10   unduly burdensome, and not proportional to the needs of the case. Twitch will interpret this term

                                          11   as Amazon.com, Inc. only.

                                          12           Twitch objects to this request as overly broad, unduly burdensome, and not proportional to
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                                          13   the needs of the case in seeking all documents relating to Twitch’s valuations. Twitch objects to

                                          14   this request to the extent it seeks information that is not relevant to any issue in this case or is not

                                          15   proportional to the needs of the case.

                                          16           Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          17   not limited to Request For Production No. 23.

                                          18           Subject to and without waiving any objections, Twitch responds as follows:

                                          19           Twitch is willing to meet and confer with PersonalWeb to understand what, if any, non-

                                          20   privileged, relevant, and proportional to the needs of the case discovery it seeks.

                                          21   REQUEST FOR PRODUCTION NO. 25:

                                          22           All financial presentations made in connection with Your negotiations with Amazon for

                                          23   their purchase of You.

                                          24   RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

                                          25           Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          26   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          27   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          28   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             33                       CASE NO. 5:18-md-02834-BLF
                                                FIRST SET OF REQUESTS FOR PRODUCTION                                      CASE NO. 5:18-cv-05619-BLF
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                                           1   information in response.      If any information responsive to this request is subject to any

                                           2   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                           3   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                           4   permission to do so from the third party.

                                           5           Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           6   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                           7   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                           8   December 26, 2016 and the United States.

                                           9           Twitch objects to the term “You” and “Your” on the basis identified in the General

                                          10   Objections above and incorporates this basis herein. Twitch will interpret these terms as Twitch

                                          11   Interactive, Inc.

                                          12           Twitch objects to the undefined term “Amazon” as vague and ambiguous, overly broad,
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                                          13   unduly burdensome, and not proportional to the needs of the case. Twitch will interpret this term

                                          14   as Amazon.com, Inc. only. Twitch further objects to the undefined term “financial presentation”

                                          15   as overly broad, unduly burdensome, vague, and ambiguous, as it does not identify the item or

                                          16   feature with specificity.

                                          17           Twitch objects to this request as overly broad, unduly burdensome, and not proportional to

                                          18   the needs of the case in seeking all documents relating to Twitch’s valuations. Twitch objects to

                                          19   this request to the extent it seeks information that is not relevant to any issue in this case or is not

                                          20   proportional to the needs of the case.

                                          21           Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          22   not limited to Request For Production Nos. 23-24.

                                          23           Subject to and without waiving any objections, Twitch responds as follows:

                                          24           Twitch is willing to meet and confer with PersonalWeb to understand what, if any, non-

                                          25   privileged, relevant, and proportional to the needs of the case discovery it seeks.

                                          26   REQUEST FOR PRODUCTION NO. 26:

                                          27           All Your annual financial statements and financial statement audit reports.

                                          28

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             34                       CASE NO. 5:18-md-02834-BLF
                                                FIRST SET OF REQUESTS FOR PRODUCTION                                      CASE NO. 5:18-cv-05619-BLF
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                                           1   RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

                                           2          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                           3   extent this request seeks information protected by the attorney-client privilege, attorney work

                                           4   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                           5   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                           6   information in response.     If any information responsive to this request is subject to any

                                           7   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                           8   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                           9   permission to do so from the third party.

                                          10          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                          11   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                          12   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until
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                                          13   December 26, 2016 and the United States.

                                          14          Twitch objects to the term “Your” on the basis identified in the General Objections above

                                          15   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                          16          Twitch objects to this request as overly broad, unduly burdensome, not relevant to the

                                          17   claims and defenses in this action, and not proportional to the needs of the case in seeking all

                                          18   documents relating to Twitch’s financial statements.

                                          19          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          20   not limited to Request For Production No. 7.

                                          21          Subject to and without waiving any objections, Twitch responds as follows:

                                          22          Twitch will produce non-privileged, non-protected documents sufficient to show revenue

                                          23   and cost information for the www.twitch.tv website during the time period of January 8, 2012 to

                                          24   December 26, 2016 for the United States, to the extent such documents exist in Twitch’s possession,

                                          25   custody, or control and can be identified upon a reasonable search.

                                          26          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          27   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          28   appropriate.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            35                      CASE NO. 5:18-md-02834-BLF
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                                           1   REQUEST FOR PRODUCTION NO. 27:

                                           2          All Your organizational charts.

                                           3   RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

                                           4          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                           5   extent this request seeks information protected by the attorney-client privilege, attorney work

                                           6   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                           7   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                           8   information in response. If any information responsive to this request is subject to any

                                           9   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          10   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                          11   permission to do so from the third party.

                                          12          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense
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                                          13   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                          14   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                          15   December 26, 2016 and the United States.

                                          16          Twitch objects to the term “Your” on the basis identified in the General Objections above

                                          17   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                          18          Twitch objects to this request as unduly burdensome to the extent it seeks information that

                                          19   is publicly available. Twitch objects to this request as it seeks information that is not relevant to

                                          20   any issue in this case or is not proportional to the needs of the case.

                                          21          Subject to and without waiving any objections, Twitch responds as follows:

                                          22          Twitch is willing to meet and confer with PersonalWeb to understand what, if any, non-

                                          23   privileged, relevant, and proportional to the needs of the case discovery it seeks.

                                          24   REQUEST FOR PRODUCTION NO. 28:

                                          25          Any documents about any analysis of Your spending on technology including but not

                                          26   limited to Your research and development costs or Your costs to acquire technology.

                                          27   RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

                                          28          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

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                                           1   extent this request seeks information protected by the attorney-client privilege, attorney work

                                           2   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                           3   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                           4   information in response.      If any information responsive to this request is subject to any

                                           5   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                           6   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                           7   permission to do so from the third party.

                                           8          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           9   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                          10   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                          11   December 26, 2016 and the United States.

                                          12          Twitch objects to the term “Your” on the basis identified in the General Objections above
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                                          13   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                          14          Twitch objects to the undefined term “technology” as overly broad, unduly burdensome,

                                          15   vague and ambiguous, and not proportional to the needs of the case.

                                          16          Twitch objects to this request to the extent it seeks information that is not relevant to any

                                          17   issue in this case or is not proportional to the needs of the case.

                                          18          Subject to and without waiving any objections, Twitch responds as follows:

                                          19          Twitch is willing to meet and confer with PersonalWeb to understand what, if any, non-

                                          20   privileged, relevant, and proportional to the needs of the case discovery it seeks.

                                          21   REQUEST FOR PRODUCTION NO. 29:

                                          22          All agreements YOU have entered into that include receiving or giving a right to use

                                          23   patented technology.

                                          24   RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

                                          25          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          26   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          27   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          28   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

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                                           1   information in response.     If any information responsive to this request is subject to any

                                           2   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                           3   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                           4   permission to do so from the third party.

                                           5          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           6   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                           7   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                           8   December 26, 2016 and the United States.

                                           9          Twitch objects to the term “You” on the basis identified in the General Objections above

                                          10   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                          11          Twitch objects to this request to the extent it seeks information that is not relevant and/or

                                          12   not proportional to the needs of the case because it seeks information about patents not at issue in
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                                          13   the case.

                                          14          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          15   not limited to Request For Production No. 28.

                                          16          Subject to and without waiving any objections, Twitch responds as follows:

                                          17          Twitch will produce non-privileged, non-protected documents sufficient to show

                                          18   agreements related to Twitch’s licensing of patented technology related to the www.twitch.tv

                                          19   website during the time period of January 8, 2012 to December 26, 2016 for the United States, to

                                          20   the extent such documents exist in Twitch’s possession, custody, or control and can be identified

                                          21   upon a reasonable search.

                                          22          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          23   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          24   appropriate.

                                          25   REQUEST FOR PRODUCTION NO. 30:

                                          26          Documents about YOUR patent licensing guidelines, policies, and usual practices.

                                          27   RESPONSE TO REQUEST FOR PRODUCTION NO. 30:

                                          28          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

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                                           1   extent this request seeks information protected by the attorney-client privilege, attorney work

                                           2   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                           3   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                           4   information in response.      If any information responsive to this request is subject to any

                                           5   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                           6   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                           7   permission to do so from the third party.

                                           8          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           9   in this action and not proportional to the needs of the case as it lacks geographic limitations. Twitch

                                          10   will only respond with respect to the United States.

                                          11          Twitch objects to the term “Your” on the basis identified in the General Objections above

                                          12   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.
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                                          13          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          14   not limited to Request For Production Nos. 28-29.

                                          15          Subject to and without waiving any objections, Twitch responds as follows:

                                          16          Twitch will produce non-privileged, non-protected documents sufficient to show Twitch’s

                                          17   patent licensing policies during the time period of January 8, 2012 to December 26, 2016 for the

                                          18   United States, to the extent such documents exist in Twitch’s possession, custody, or control and

                                          19   can be identified upon a reasonable search.

                                          20          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          21   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          22   appropriate.

                                          23   REQUEST FOR PRODUCTION NO. 31:

                                          24          Documents about Your market value, profitability or financial condition at or around the

                                          25   time the first quarter of 2012.

                                          26   RESPONSE TO REQUEST FOR PRODUCTION NO. 31:

                                          27          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          28   extent this request seeks information protected by the attorney-client privilege, attorney work

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                                           1   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                           2   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                           3   information in response. If any information responsive to this request is subject to any

                                           4   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                           5   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                           6   permission to do so from the third party.

                                           7          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           8   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                           9   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                          10   December 26, 2016 and the United States.

                                          11          Twitch objects to the term “Your” on the basis identified in the General Objections above

                                          12   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.
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                                          13          Twitch objects to this request to the extent it seeks information that is not relevant to any

                                          14   issue in this case or is not proportional to the needs of the case.

                                          15          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          16   not limited to Request For Production Nos. 28-29.

                                          17          Subject to and without waiving any objections, Twitch responds as follows:

                                          18          Twitch is willing to meet and confer with PersonalWeb to understand what, if any, non-

                                          19   privileged, relevant, and proportional to the needs of the case discovery it seeks.

                                          20   REQUEST FOR PRODUCTION NO. 32:

                                          21          Documents about any analysis of your business model or profitability or how either were

                                          22   expected to change.

                                          23   RESPONSE TO REQUEST FOR PRODUCTION NO. 32:

                                          24          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          25   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          26   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          27   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          28   information in response.      If any information responsive to this request is subject to any

                                                TWITCH’S RESPONSES AND OBJECTIONS TO              40                    CASE NO. 5:18-md-02834-BLF
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                                           1   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                           2   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                           3   permission to do so from the third party.

                                           4          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           5   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                           6   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                           7   December 26, 2016 and the United States.

                                           8          Twitch objects to the term “your” on the basis identified in the General Objections above

                                           9   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                          10          Twitch objects to this request as it seeks information that is not relevant to any issue in this

                                          11   case or is not proportional to the needs of the case.

                                          12          Twitch objects to this request to the extent it is duplicative of other requests, including but
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                                          13   not limited to Request For Production Nos. 12 and 14.

                                          14          Subject to and without waiving any objections, Twitch responds as follows:

                                          15          Twitch is willing to meet and confer with PersonalWeb to understand what, if any, non-

                                          16   privileged, relevant, and proportional to the needs of the case discovery it seeks.

                                          17   REQUEST FOR PRODUCTION NO. 33:

                                          18          All Documents including, but not limited to, deposition testimony analyzing costs of

                                          19   hosting and serving Your website content including but not limited to the cost of internet

                                          20   bandwidth, host servers, power or any other necessary infrastructure.

                                          21   RESPONSE TO REQUEST FOR PRODUCTION NO. 33:

                                          22          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          23   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          24   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          25   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          26   information in response. If any information responsive to this request is subject to any

                                          27   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                          28   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             41                      CASE NO. 5:18-md-02834-BLF
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                                           1   permission to do so from the third party.

                                           2          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           3   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                           4   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                           5   December 26, 2016 and the United States.

                                           6          Twitch objects to the term “Your” on the basis identified in the General Objections above

                                           7   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                           8           Twitch objects to the undefined terms “infrastructure” and “website content” as overly

                                           9   broad, unduly burdensome, vague, and ambiguous as they do not specify the items or features with

                                          10   specificity. Twitch will interpret these terms as servers and content on www.twitch.tv, respectively.

                                          11          Twitch objects to this request as overly broad, unduly burdensome, not relevant to the

                                          12   claims and defenses, and not proportional to the needs of the case in seeking all documents relating
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                                          13   to the costs of hosting and serving Twitch’s website content. Twitch objects to this request as it

                                          14   seeks information that is not relevant to any issue in this case or is not proportional to the needs of

                                          15   the case.

                                          16          Subject to and without waiving any objections, Twitch responds as follows:

                                          17          Twitch is willing to meet and confer with PersonalWeb to understand what, if any, non-

                                          18   privileged, relevant, and proportional to the needs of the case discovery it seeks.

                                          19   REQUEST FOR PRODUCTION NO. 34:

                                          20          All Documents including, but not limited to, deposition testimony analyzing how to reduce

                                          21   the costs of hosting and serving Your website content including but not limited to the cost of internet

                                          22   bandwidth, host servers, power or any other necessary infrastructure.

                                          23   RESPONSE TO REQUEST FOR PRODUCTION NO. 34:

                                          24          Twitch incorporates by reference its General Objections as if fully set forth herein. To the

                                          25   extent this request seeks information protected by the attorney-client privilege, attorney work

                                          26   product doctrine, joint defense privilege, common interest exception, or any other applicable

                                          27   privilege, immunity, doctrine or protection, Twitch objects to it and will not provide any such

                                          28   information in response.      If any information responsive to this request is subject to any

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             42                      CASE NO. 5:18-md-02834-BLF
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                                           1   confidentiality obligations owed by Twitch to any third party, Twitch will provide such information

                                           2   only after it complies with those obligations, and, if necessary, only after it obtains the required

                                           3   permission to do so from the third party.

                                           4          Twitch objects to this request as vague and ambiguous, not relevant to any claim or defense

                                           5   in this action and not proportional to the needs of the case as it lacks temporal and geographic

                                           6   limitations. Twitch will only respond with respect to the time period from January 8, 2012 until

                                           7   December 26, 2016 and the United States.

                                           8          Twitch objects to the term “Your” on the basis identified in the General Objections above

                                           9   and incorporates this basis herein. Twitch will interpret this term as Twitch Interactive, Inc.

                                          10          Twitch objects to the undefined terms “infrastructure” and “website content” as overly

                                          11   broad, unduly burdensome, vague, and ambiguous as they do not specify the items or features with

                                          12   specificity. Twitch will interpret these terms as servers and content on www.twitch.tv, respectively.
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                                          13          Twitch objects to this request as overly broad, unduly burdensome, not relevant to the

                                          14   claims and defenses, and not proportional to the needs of the case in seeking all documents relating

                                          15   to the costs of hosting and serving Twitch’s website content. Twitch objects to this request as it

                                          16   seeks information that is not relevant to any issue in this case or is not proportional to the needs of

                                          17   the case.

                                          18          Twitch objects to this request to the extent it is duplicative of other requests, including but

                                          19   not limited to Request For Production No. 33.

                                          20          Subject to and without waiving any objections, Twitch responds as follows:

                                          21          Twitch is willing to meet and confer with PersonalWeb to understand what, if any, non-

                                          22   privileged, relevant, and proportional to the needs of the case discovery it seeks.

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                                                TWITCH’S RESPONSES AND OBJECTIONS TO             43                      CASE NO. 5:18-md-02834-BLF
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                                           1                                          Respectfully submitted,

                                           2   Dated: March 18, 2019                  FENWICK & WEST LLP

                                           3

                                           4                                          By: /s/ Saina S. Shamilov
                                                                                          Saina S. Shamilov
                                           5
                                                                                          Counsel for
                                           6                                              TWITCH INTERACTIVE, INC.

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                                               TWITCH’S RESPONSES AND OBJECTIONS TO     44                        CASE NO. 5:18-md-02834-BLF
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                                           1                                    CERTIFICATE OF SERVICE

                                           2         I hereby certify that on this 18th day of March, 2019, a true and correct copy of the foregoing
                                           3   document was served on each party through their counsel of record via email and U.S. mail.

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